Case 2:08-cv-03182-DDP-SS Document 8 Filed 05/30/08 Page 1of16 Page ID #:86

ROZSA LAW GROUP LC

 

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Thomas I. Rozsa, State Bar No. 080615 5 _

ROZSA LAW GROUP LC - X ) a
18757 Burbank Boulevard, Suite 220 FILED
Tarzana, California 91356-3346 CLERK, U.S. DISTRICT COURT
Telephone (818) 783-0990

Facsimile (818) 783-0992 MAY 30 208

Email: [counsel@rozsalaw.com]

 

 

 

 

 

 

 

Attorney for Plaintiff CENTRAL DIS ; ICT OF CALIFORNIA
Jewelex New York, Ltd. DEPUTY

Sepehr Daghighian, State Bar No. 239349 _

LAW OFFICES OF SEPEHR DAGHIGHIAN, P.C.
433 North Camden Drive, Fourth Floor

Beverly Hills, California 90210

Telephone (310) 887-1333

Facsimile (310) 887-1334

Email: [sepehr@daghighian.com]

 

 

Attorney for Defendants
Jewelex, Inc., Mehrdad Shans,
and Mehran Shans

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

WESTERN DIVISION
JEWELEX NEW YORK, LTD.,a New} Case No. CV08-03182 DDP(SSx)
York corporation,
CONSENT JUDGMENT

Plaintiff,
VS.

JEWELEX, INC., a California
corporation, MEHRDAD SHANS, an Hon. Dean D. Pregerson
individual, also known as MEHRAN Courtroom: 3

SHANS; an individual; and DOES 1
through 10, Inclusive,

Defendants.

 

 

Plaintiff Jewelex New York, Ltd., having commenced this civil action
by filing its Complaint herein for Federal Trademark and Service Mark
Infringement; Federal False Designation of Origin, False Description, and

False Representation; Federal Trademark Dilution; Federal Unfair

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CONSENT JUDGMENT

 

 

 
   

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Case 2:08-cv-03182-DDP-SS Document 8 Filed 05/30/08 Page 20f16 Page ID #:87

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Competition; Federal Cyberpiracy; State Trademark Dilution; State Unfair
Competition; State False Advertising; Common Law Unfair Competition;
Intentional Interference with Current and Prospective Economic Advantage;
Constructive Trust; and Accounting (the “Complaint’); and Defendants
Jewelex, Inc., a California corporation whose principal business address is 550
South Hill Street, Suite 1185, Los Angeles, California 90013; Mehrdad Shans,
an individual whose principal business address is 550 South Hill Street, Suite
1185, Los Angeles, California 90013; and Mehran Shans, an individual whose
principal business address is 550 South Hill Street, Suite 1185, Los Angeles,
California 90013 in the above-entitled action (hereafter jointly “Defendants”),
have agreed to the entry of this Consent Judgment in settlement of disputed
claims without trial or adjudication of any issue of fact or law herein;

NOW, THEREFORE, prior to the taking of any testimony, civil
discovery and without trial or adjudication of any issue of fact of law herein,
and upon the consent of the parties hereto, it is hereby

ORDERED, ADJUDGED, AND DECREED as follows:

l. This Court has jurisdiction of the subject matter herein and of each of
the parties consenting hereto. The Complaint states claims upon which relief
can be granted against Defendants under federal trademark and service mark
infringement in violation of § 32(1) of the Lanham Trademark Act, As
Amended (hereafter “the Lanham Act”), 15 U.S.C. § 1114(1); for federal false
designation of origin, false description and false representation, and federal
unfair competition, all in violation of § 43(a) of the Lanham Act, 15 U.S.C.

§ 1125(a); for federal trademark dilution in violation of § 43(c) of the Lanham
Act, 15 U.S.C. § 1125(c); for federal cyberpiracy in violation of § 43(d) of the
Lanham Act, 15 U.S.C. § 1125(d); for California state statutory trademark
dilution, and California state statutory trademark infringement, all in violation
of California Business and Professions Code §§ 14245, et seq.; for California

-2-
CONSENT JUDGMENT

 

 

 
Case 2:08-cv-03182-DDP-SS Document 8 Filed 05/30/08 Page 30f16 Page ID #:88

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1 | state statutory unfair competition in violation of California Business and

Professions Code §§ 17200, et seq.; for California state statutory false

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advertising 1 violation of California Business and Professions Code § 17500;

4 | for intentional interference with current and prospective economic advantage at

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common law; for unfair competition at common law, and for accounting.

2. Judgment is hereby entered in favor of the Plaintiff on Counts 1-12 as

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alleged in the Complaint filed in this action. Defendants shall comply with the

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provisions of this Consent Judgment.

9 3. Defendants shall comply with the terms of the Settlement Agreement,
10 | a copy of which Settlement Agreement is attached hereto as Exhibit 1 and
1! | incorporated herein by reference. Any failure by Defendants to comply with
12 | the terms of the Settlement Agreement shall constitute a failure to comply with
13 } this Paragraph 3 of this Consent Judgment.
14 4, The Defendants, and ail of their officers, agents, servants, employees,
{5 || representatives, attorneys, parents, subsidiaries, divisions, and any and al]
16 | others in active concert or participation with Defendants in this action, and

17 | each of them are further enjoined from:

18 (i) directly or indirectly using or causing the use of any of the

19 following in connection with advertising, distribution, display,
20 offering for sale, selling or providing any products which

21 include any of the following:

22 (a) the mark “JEWELEX,” “JEWELEX, Inc.,” “‘866-9-
23 JEWELX” <fet""and

24 “WW W.JEWELEXINC.COM” marks or variations
25 thereof that are phonetic equivalents or that are likely
26 to cause confusion, mistake, or deception among the
27 consuming public as to the source of origin or

28 products bearing the mark “JEWELEX”, or that is

-3-
CONSENT JUDGMENT

 

 

 

 
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Case 2:08-cv-03182-DDP-SS Document 8 Filed 05/30/08 Page 4of16 Page ID #:89

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(ii)

(iii)

(iv)

likely to confuse the consuming public as to the
sponsorship or association of Defendants or its
business, or that is likely to injure the goodwill and
business reputation of Plaintiff;

(b) any false designation of origin, or any false
description of representation, or any false or
misleading statement in connection with the
advertising, offering for sale, or providing of
products which are automobile covers including, but
not limited to, representing by mark, words or
conduct, that any products made, used, offered for
sale, advertised or sold or distributed by Defendants
originated with Plaintiff, or was authorized,
sponsored or endorsed by, or otherwise connected
with Plaintiff;

providing, any false or misleading description of fact, or

making any false or misleading representation of fact, which

misrepresents in commercial advertising or promotion the
nature, characteristics, qualities or geographic origin of

Defendants’ products;

disseminating or inducing the dissemination of, before the

public for the State of California, further untrue and misleading

statements, in violation of California Business and Professions

Code § 17500;

causing further dilution to the distinctive quality of Plaintiff's

marks, including “JEWELEX”, or causing further injury to

Plaintiff's business reputation, in violation of California

Business and Professional Code § 14245;

-4-
CONSENT JUDGMENT

 

 
Case 2:08-cv-03182-DDP-SS Document 8 Filed 05/30/08 Page 5of16 Page ID #:90

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(v} competing unfairly with Plaintiff in violation of California
Business and Professions Code § 17200 and of the common
law; and
(vi) That Defendants not in any way use any of its “JEWELEX,”
“JEWELEX, Inc.,” “866-9-JEWELX”, “hee and
“WWW.JEWELEXINC.COM” marks or any confusingly similar mark to
Plaintiffs trademark and service mark “JEWELEX”.

ROZSA LAW GROUP LC
Dated: 5 fe7!8 MVS Neo & Bo, aay

Thomas f. Rozsa

18757 Burbank, Suite 220
Tarzana, California 91356-3346
Telep phone (8 18) 783-0990
Facsimile (818) 783-0992

Attorney for Plaintiff
JEWELEX NEW YORK, LTD.

 

LAW OFFICES OF
SEPEHR DAGHIGHIAN, P.C.

Dated: S / 27/08
ee. hi S

B North amden Drive, F ourth Floor
Bevery Hills, California 9021
Telephone (310) 887-1333
Facsimile (310) 887-1334
Email: [sepehr@daghighian.com}

 

Attorney for Defendants
Jewelex, Inc., Mehrdad Shans,
and Mehran Shans

IT 1S SO 0 ORDERED

 

 

ZODGE aE D. RREGERSON
UNITED STATES DISTRICT JUDGE

-5-
CONSENT JUDGMENT

 

 

 
Case 2:08-cv-03182-DDP-SS Document 8 Filed 05/30/08 Page 6of16 Page ID #:91

EXHIBIT |

 

 

 
Case 2:08-cv-03182-DDP-SS Document 8 Filed 05/30/08 Page 7of16 Page ID #:92

SETTLEMENT AGREEMENT

This Settlement Agreement (“Agreement”) is made and entered into as of the 2% day of
May, 2008 by and between Jewelex New York, Ltd., a New York corporation whose principal
business address is 529 Fifth Avenue, 18" Floor, New York, New York 10017 ((hereafter
“Jewelex New York, Ltd.”); and Jewelex, Inc., a California corporation whose principal business
address is 550 South Hill Street, Suite 1185, Los Angeles, California 90013; Mehrdad Shans, an
individual whose principal business address is 550 South Hill Street, Suite 1185, Los Angeles,
California 90013 (hereafter “Mehrdad Shans”); and Mehran Shans, an individual whose
principal business address is 550 South Hill Street, Suite 1185, Los Angeles, California 90013
(hereafter ‘Mehran Shans’’).

RECITALS

WHEREAS, Jewelex New York, Ltd. has filed a Complaint against Jewelex, Inc.,
Mehrdad Shans, and Mehran Shans in the Central District of the United States District Court,
which has been assigned Case No. CV08-03182 DDP(SSx) (hereafter “Civil Action 08-031 825
alleging causes of action for Federal Trademark and Service Mark Infringement; Federal False
Designation of Origin, False Description, and False Representation; Federal Trademark
Dilution; Federal Unfair Competition; Federal Cyberpiracy; State Trademark Dilution; State
Unfair Competition; State False Advertising; Common Law Unfair Competition; Intentional
Interference with Current and Prospective Economic Advantage; Constructive Trust; and
Accounting; hereafter “Civil Action 08-03182”);

WHEREAS, all Defendants including Jewelex, Inc., Mehrdad Shans and Mehran Shans
were personally served with the Complaint on Thursday, May 15, 2008:

WHEREAS, Mehrdad Shans and Mehran Shans are the shareholders of Jewelex, Inc.;

WHEREAS, Jewelex, Inc., Mehrdad Shans and Mehran Shans are desirous of resolving
all or the issues raised in Civil Action 08-03182 and Jewelex New York, Ltd. is also agreeable to
resolving al] or the matters raised in Civil Action 08-03182 pursuant to the terms and conditions
of this Agreement:

NOW, THEREFORE, in consideration of the mutual promises and covenants as
hereimafter set forth, and for other good and valuable consideration, the receipt and sufficiency
of which are hereby acknowledged, and intending to be legally bound, Jewelex New York, Ltd.,
Jewelex, Inc., Mehrdad Shans and Mehran Shans hereby agree as follows:

lL. Incorporation of Recitals

The Recitals set forth above are incorporated into this Agreement in their entirety
and made a part hereof.

 
Case 2:08-cv-03182-DDP-SS Document 8 Filed 05/30/08 Page 8o0f16 Page ID #:93

2, Activities of All Defendants which will be Terminated Effective No Later than
May 206, 2008

For purposes of this Agreement, Defendants shall jointly be referred to as Jewelex, lnc.,
Mehrdad Shans, Mehran Shans and any other business entity owned or operated by Mehrdad
Shans and Mehran Shans, either jointly or individually, regardless of the nature of the entity,
whether it be a corporation, limited liability company, partnership etc. owned by Mehrdad Shans
and/or Mehran Shans.

2.01 Defendants have incorporated a California corporation under the name
Jewelex, Inc.. As part of this Agreement, Defendants agree that they shall immediately file an
Amendment to the Articles of Incorporation changing the name from Jewelex, Inc. to some other
corporate name which is not the same as nor confusingly similar to the word “JEWELEX” and _
further, will not include in any portion of the letters “I’,"E”, “’W”, “E”, L”and “X” and will
provide a copy of that Amendment to Jewelex New York, Ltd.’s counsel within one (1) week of
the execution of this Agreement. Alternatively, Jewelex, Inc. may filed documents with the
California Secretary of State dissolving the corporation and provide a copy of the documents
dissolving the corporation to the Plaintiff's counsel within one (1) week of the execution of this
Agreement.

2.02 Defendants have registered the domain name “www.jewelexinc.com”,
Defendants hereby agree that they shall immediately cease use of the website for promoting their
business and shall immediately disable the website so that if anyone types in
“www.jewelexinc.com”, there will be a blank page. Within one (1) month of the execution of
this agreement, Defendants shail transfer to Jewelex New York, Ltd. the domain name
“www jewelexinc.com”. This one month grace period is allowed for the Defendants to transition
their current e-mail addresses to a new domain name.

2.03 Defendants have placed the name “JEWELEX?” in their jewelry items
including, but not limited to, rings. A true and correct copy of some of the Defendants’ products
downloaded from the website “www jewelexinc.com” illustrating the word “JEWELEX”
stamped into the jewelry or engrave into the jewelry has been attached to the Complaint as
Exhibit 2, Defendants hereby agree that they shall never again sell any jewelry item which in
any way contains the trademark “JEWELEX” either engraved into, molded in or in any way
formed into any jewelry item, nor that contains any hangtag, label or any packaging or display
which contains the mark “JEWELEX thereon, and agree that all jewelry items in their
possession, custody and control, if any, shall be converted and modified so that the name
“JE WELEX” is replaced with a name that is totally different from and not confusingly similar
with “JEWELEX” and does not contain the letters “J","E”, WwW" “EY, Land “X” anywhere in
the mark.

Defendants hereby represent and warrant that the jewelry created by the
Defendants do not have the word “JEWELEX” engraved, stamped or in any other way affixed to
the jewelry. The graphics that were attached as Exhibit 2 to the Complaint were computer

 
Case 2:08-cv-03182-DDP-SS Document 8 Filed 05/30/08 Page 9of16 Page ID#:94

generated and the word “JEWELEX” was not in fact engraved on any jewelry. Therefore, the
Exhibit 2 to the Complaint which showed some of Defendants’ products depicted on their
website “www, jewelexinc.com” using the word “JEWELEX” in the jewelry were graphic
generations and in fact, the name “JEWELEX” has never been placed onto any jewelry item of
Defendants.

2.04 To the extent that Defendants have in their possession, custody and
control any pieces of advertising such as catalogs, postcards or any other printed material or any
other electronic material such as the websites, the Defendants agree that they shall immediately
deliver to the offices of Rozsa Law Group LC whose address is ROZSA LAW GROUP LC
18757 Burbank Boulevard, Suite 220,Tarzana, California 91356-3346, all remaining printed
material containing the trademark “JEWELEX” anywhere thereon for immediate destruction.
Defendants agree that they shall never again distribute any printed material of any kind nor
disseminate any electronic material of any kind which contains the trademark “JEWELEX” or
any mark confusingly similar with “JEWELEX” and that does not contain the letters “J”,"E”,
mw”, “E”, Land “x” therein. The Defendants’ website shall immediately discontinue the use
of “JEWELEX” thereon.

2.05 Defendants hereby agree that they shall never again use the letters
“PE”, “ow”, “E”, Land “X” as part of their telephone number. It is agreed that should
Defendants choose to continue to use this telephone number, they must always from the date of
execution of this Agreement forward use only the actual numbers themselves and never
reference the letters “J?,"E”, “"W”", “E”, L“X”. Therefore, Defendants may advertise their toll
free telephone number as 866-953-9359 only and shall never use the letters “J’,"E”, “’W”, “E”,
L’and “X” for the numbers 53-9359 portion of their toll free telephone number.

2.06 By no later than May 27, 2008, Defendants agree that they shall provide to
counsel tor Jewelex New York, Ltd. a detailed list of all jewelry items which were sold by
Defendants including the item, the amount of sales price and the customer to whom such jewelry
was sold.

2.07 Defendants hereby agree that they shall prepare a letter in the form
attached hereto as Exhibit 1 to the customers to whom it has been advertising and selling
products bearing the name “JEWELEX”, advising them that Defendants are not in any way
related with Jewelex New York, Ltd. and that they have changed their name to a totally different
name,

2.08 Defendants hereby agree that, to the extent within their control, they will not
display at any trade show beginning on May 21, 2008 and any trade show thereafter any
products or advertising or displays bearing the name “JEWELEX”,

 
Case 2:08-cv-03182-DDP-SS Document 8 Filed 05/30/08 Page 100f16 Page ID#:95

3. Compensation to Jewelry New York, Ltd.

Regardless of the amount of jewelry that has been sold by the Defendants, the
Defendants hereby agree to pay the Jewelex New York, Ltd. as full compensation for damages
incurred by Jewelex New York, Ltd. including attorneys’ fees involved in prosecuting this
litigation, the sum of Dollars ($
May20,2008. AMOUNT NoT To ExceeD £4,500 To Be NesoriateD
iw Qoob FAITH APTEQ. 5/29/08,
4, Consent Judgment

Defendants hereby agree to a consent judgment to be entered against them jointly
and severally in the form attached hereto as Exhibit 2. The consent judgment shall be an
injunction enjoining all use of ‘JEWELEX” or any variation thereof.

5. Mutual Release

Provided Defendants are in compliance with all terms and conditions of this
Agreement, Jewelex New York, Ltd. agrees to release Defendants from all liability which
Jewelex New York, Lid. may have incurred as a result of the actions of Defendants as set forth in
Civil Action 08-03182 and Defendants correspondingly release Jewelex New York, Ltd. for any
counterclaim or any other actions which Defendants may have brought in Civil Action 08-03 182.

6. Dismissal of Civil Action 08-0318?

6.01 Upon execution of this Agreement and the Consent Judgment by both
Jewelex New York, Ltd., Jewelex New York, Ltd. shall dismiss the Complaint against
Defendants.

6.02 It is expressly agreed that the Court shall retain jurisdiction over this case for
the purpose of enforcing the terms and conditions of this Agreement,

7. Agreement To Execute Further Documents

Each of the parties hereto agrees to execute such further documents and take such
further action as may be reasonably necessary or appropriate to consummate the intent and
purpose of this Agreement.

8. Notices

All notices required to be given hereunder shall be in writing and shall be sent by
telecopier and a confirming copy sent by first class mail, postage prepaid, and deposited in the
United States mail, and addressed to the respective parties at the addresses, telephone numbers
and telecopier numbers set forth in the preamble to this Agreement. In case of service by
telecopier and confirmation copy by mail, it shall be deemed complete at the expiration of the
second day after telecopier transmission. The telecopier number of Jewelex New York, Ltd. is
(212) 840-6971. The telecopier number of Defendants is (213) 891-1218 Either party may, by

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Case 2:08-cv-03182-DDP-SS Document 8 Filed 05/30/08 Page 11of16 Page ID #:96

written notice to the other, change the telecopier number and address for notices to be sent to
that party. Processes and notices, if any, shall be sent to the respective parties as follows:

For Jewelex New York, Ltd.:

Atul Kothari

President ~

Jewelex New York Ltd.

529 Fifth Avenue

18° Floor

New York, New York 10017

for Defendants:

Mehrdad Shans

Jewelex, Inc.

550 South Hill Street, Suite 1185
Los Angeles, California 90013

and

Mehran Shans

Jewelex, Inc.

550 South Hill Street, Suite 1185
Los Angeles, California 90013

9, Time Is Of The Essence

Time shall be considered of the essence in this Agreement and all of its applicable
terms.

10. Counterparts

This Agreement may be signed in any number of counterparts with the same
effect as if the signature or signatures upon each such counterpart were upon the same document.
Each party agrees to initial in the lower right-hand comer of each page of this Agreement in
addition to executing the Agreement on the last signature page,

li. Exhibits

Each exhibit or schedule attached hereto shall be incorporated herein and be a
part hereof. Ifany exhibit or schedule referred to herein sha!! not be attached hereto at the time
of execution hereof, or if such exhibit shall be incomplete, such exhibit or schedule may be later
attached or completed by the mutual consent of the parties, evidenced by the parties signing and

 
Case 2:08-cv-03182-DDP-SS Document 8 Filed 05/30/08 Page 120f16 Page ID#:97

dating such exhibit or schedule and such exhibit or schedule shall as later attached or completed
for all purposes be deemed a part hereof, as if attached hereto or completed at the time of the
exeécution hereof.

12. Governing Law, Jurisdiction and Venue

The provistons of this Agreement and all disputes concerning the validity,
interpretation, or performance of this Agreement and any of its terms or provisions, or any rights
or obligations of the parties hereto, shall be governed by and resolved in accordance with
applicable federal and state laws The parties agree to submit to the jurisdiction and venue of the
appropriate federal and/or state courts in the County of Los Angeles, California.

13, Waiver And Delay

13.01 The failure of any party at any time to require performance by the other
party of any provision hereof shall not effect in any way the full right to require such
performance at any time thereafter; nor shall the waiver by any party of a breach of any
provision thereof be taken or held to be a waiver of the provision itself.

13.02 No waiver by any party of any breach or series of breaches or defaults in
performance by the other party, and no failure, refusal or neglect of any party to exercise any
right, power or option given to it hereunder or to insist upon strict compliance with or
performance of any party's obligations under this Agreement, shall constitute a waiver of the
provisions of this Agreement with respect to any subsequent breach thereof or a waiver by any
party of its rights at any time thereafter to require exact and strict compliance with the provisions
thereof.

14, Severability

Nothing contained in this Agreement shall be construed as requiring the
commission of any act contrary to law. Whenever there is any conflict between any provision of
this Agreement and any present or future statute, law, ordinance or regulation contrary to which
the parties have no legal right to contract, the latter shall prevail, but in such event the provision
of this Agreement thus affected shall be curtailed and limited only to the extent necessary to
bring it within the requirements of the law. In the event that any part, article, paragraph, sentence
or Clause of this Agreement shall be held to be indefinite, invalid or otherwise unenforceable, the
indefinite, invalid or unenforceable provision shall be deemed deleted, and the remaining part of
the Agreement shall continue in full force and effect. If any tribunal or court of competent
jurisdiction deems any provision hereof unenforceable, such provision shall be modified only to
the extent necessary to render it enforceable and this Agreement shall be valid and enforceable
and the parties hereto agree to be bound by and perform same as thus modified.

15. Attorneys’ Fees

In the event of a breach of this Agreement by any of the parties, in the event the

non-breaching party is required to enforce the terms of this Agreement against the breaching
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Case 2:08-cv-03182-DDP-SS Document 8 Filed 05/30/08 Page 130f16 Page ID #:98

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ROZSA LAW GROUP

party, the non-breaching party shall be ontitied to Teli nbursoment of the i

h th ngn-breaching party’s
reasonable artorneys* fees and costs in addition to ani other damages suffered by the i "
breaching party ag u result of the breach caused by Th: breaching panty.

16. Batice Agroement—Amendment And \Waiver
_ This Agreement contains the entire un ieretandiog of the parties:

other ceprexentalions, covenants or undertaklogs othe: than those enpresely 00 font nen nm
Agreement, Bach party acknowledges that no other purty or any agent or attomey of any other
party has made any promises, representation or warra:uy whawoever, express, implied or
slatutory, oot comainsd in thie Agrecment, concemin; its subject raatrer, to induce them tq
execuie thiy Agreement, The purties acknowledge thit they have not exceiuted this Agrecment in
relianes upon any such promise, representation or wai ranty nat specifically contained in this
Agreement. This Agreement may be amended, supple mented, or varied at any time, in otiy wary,
and in al) cespecis, but only by en instrument in writing executed by the parties horete. i.

IN WITNESS WHEREOP, the parties have ex scuted this Agreement as of the date firse

above written.

Dated: 3 leahee

Dated: By 27} o&. ae

Dated: 5/27} J
Dated: 5 27/08, |

Kelemen fv O08

Té 9 Fovd

“Tewelex New York, Lid.”
Jewelex New ¥ dirk, Ltd.

By: Atul Kothari
Title: President

“Defendants”
Jewelex, Inc.

By: Mehom Shans
Title Presidenc

 

“Mehrdad Shans"
Mobrdad Shans* |

Meldet shy. J) .
By: Mehrdad Shais

“Mebran Shans”
Mehran Shans”

C\ihtin CLA
By: Mehran Shan:

 

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EXHIBIT 1

 
Case 2:08-cv-03182-DDP-SS Document 8 Filed 05/30/08 Page 15o0f16 Page ID #:100

ON JEWELEX, INC.CNEW NAME) LETTERHEAD
TO CLIENTS

Dear Sirs:

Unfortunately, we have made a mistake in that we have used the name Jewelex, Inc. in
both our advertisements and on our jewelry without realizing that “JEWELEX” is a federally
registered trademark of another company, Jewelex New York, Ltd. Jewelex, Inc. is in no way
affiliated with Jewelex New York, Ltd. We have changed our company name and our new name
is U.S. Yewecey CLuB . Accordingly, in the future, please be sure that when
you correspond with us, you use our new name whichis J.§. YewErey Cr UR ,

 

We regret any confusion that may have occurred because of our inadvertent use of the
name “JEWELEX”,

Sincerely,

Mehran Shans
President

 
ROZSA LAW GROUP LC

ATIORHEYS ATLAW
18757 BURBANK BOULEVARD, SUITE 220
TARZANA, CALIFORMIA 91356-3346

TELEPHONE (818) 783-0990

Case 2:08-cv-03182-DDP-SS Document 8 Filed 05/30/08 Page 16o0f16 Page ID#:101

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2:08-cv-08-03182 DDP(SSx) Jewelex New York, Ltd. v. Jewelex, Inc. et al.
PROOF OF SERVICE

1 declare that I am over the age of eighteen (18) years and not a party to this action.
My business address is18757 Burbank Boulevard, Suite 220,Tarzana, California 91356-3346

On May 27, 2008, I served the following document(s) described as:
CONSENT JUDGMENT

BY MAILE as follows: I am readily familiar with the firm's practice of collection and
processing of correspondence for mailing with the United States Postal Service. Under
that practice the correspondence was deposited with the United States Postal Service
on the same day this declaration was executed in the ordinary course of business.
Under that practice, the envelope(s) was (were) sealed, and with postage thereon fully
prepaid, placed for collection and mailing on this date in the United States Mail at
Tarzana, California addressed as set forth below.

BY PERSONAL SERVICE as follows: I caused such envelope(s) to be delivered by
hand to the addressee(s) at the address set forth below by Delta Worldwide Services,
Inc..

BY FEDERAL EXPRESS as follows: I placed the document(s) listed above with
fees thereon fully prepaid for deposit with Federal Express (next business day
delivery), this same day following ordinary business practices to the address(es) set
forth below.

ix

BY FACSIMILE TRANSMISSION as follows: I caused the above-referenced
document(s) to be transmitted by facsimile to its intended recipient(s) at the following
facsimile number(s) before 5:00 p.m.

Sepehr Daghighian, Esq.

Law Offices of Sepehr Daghighian

433 North Camden Drive, Fourth Floor
Beverly Hiils, California 90210

Telecopier: (310) 887-1334

I declare under penalty of perjury that the foregoing is true and correct and that this
declaration was executed on May 27, 2008, at Tarzana, e.

Sram kK whee,

Lauraine E. Kirby

 

 

 

 
